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                           UNITED STATES D ISTR ICT COURT
                           SOUTH ERN DISTRICT O F FLOIUD A

                         CASE NO.18-20710-CR-ALTONAGA(s)(s)
    UNITED STATES OF AM ERICA

    V S.

    THO M A S SM IS,

           D efendant.
                                          /

                                    FA C TU A L PR O FFER

           Theofticeofthe United StatesAttorney fortheSouthern DistrictofFloridaandthe

    DefendantThomasSahs(ûr efendanf')stipulateandagreethatthefollowingfactsaretrue
    and correctand thatsuchfactsprovideasuftscientfactualbasisforapleaofguilty to Count

    1 of the Second Superseding Indictm ent,which charges D efendantw ith conspiracy to

    commithealth carefraud,inviolation ofTitle 18,UnitedStatesCode,Section 1349.

           Beginning in oraround January of2015,and continuing through in oraround July

    of 2015,Defendant conspired and agreed with Jolm Scholtes (çEscholtes'') Senthil
    Ramamurthy (lERamamurthy'') Rajesh M ahbubani tûlM ahbubani''l, M thony M auzy
    (ûûM auzy''),M angala Ramamurthy ($;Dr.Ramamurthy''),AsifUddin (1$Uddin'')5Jenifer
    JohnCarbon(1(Carbon'')andotherstocommithealth carefraudtllroughthesubmission of
    falseand fraudulentclaim sto the Tricare program .Tricare isa federalhealth carebenefit

    program affecting commerce,asdetined in Title 18,United StatesCode,Section 24(b),
    thatprovides civilian health beneftsform ilitary personnel,military retirees,and military
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        dependents.Defendant'sschem e involved causing thesubm ission offalse and fraudulent

        claims(includingthoseclaimssetforthincounts2-9)toTricarebasedonprescriptionsfor
        pain cream s, scar crenm s and multi-vitam ins written with the goal of m axim izing

        adjudication amounts withoutregard to medicalnecessity which were billed through
        Pharmacy 1,Pharm acy 2 and otherphanuacies.Pharm acy 1w asacom pounding pharm acy

        in theM iddleD istrictofFlorida.Phannacy 2 wasa com pounding phannacy locatedin the

        Northern District of Oklahoma.Defendant was an owner of M EIQ Ventures,LLC.
        (1$M I-lQV''), a Texas company with a principal place of business in Austin,Texas.
        RamamurthywasanownerofSKR ServicesandVenturesLLC,ISKRIaFloridacompany
        with itsprincipalplaceofbusinessin M iam i,Florida.

              During the course ofthecharged conspiracy the Defendantand hisco-conspirators

        targeted Tricarebeneficiarieson U .S.m ilitary basesand elsewhereforpup osesofsigning

        them up toreceiveprescriptionsforexpensivecompounded medicationsprom otedwithout

        regardform edicalnecessity andpaid forby theTricareprogram .In fact,theonly purpose

        in targetingTricarebeneficiarieswasthelucrative50% (lessamodestcostofgoodssold)
        kickback paid to SKR by Pharmacies 1and 2 foreach prescription Defendantand his co-

        conspiratorsreferred tothepharm aciesthatwaspaid forby Tricare.

              During the conspiracy,Defendantand his co-conspirators received approximately

        $3.4 m illion in kickbacks in exchange for referring Tricare prescriptions fornum erous

        beneficiariesto Pharm acies 1 and 2.These kickbacks were fulm eled from the pharm acies

        through SKR andthen aportion ofthisamount(atleasttheapproximatesum of$750,000)
        to the Defendantand co-conspiratorsSahsand M auzy eitherindividually orthrough their
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            company M HQV (including thosekickback paymentssetforth in counts 12,14,17,19,
            21-22,and24).TheDefendantinturnpaidûçsalesreps''totargetTricarebeneficiaries.The
            salesrepsinducedTricarebeneficiariesto ûlsignup''forthe expensivedrugsw ithoutregard

            to any legitimate m edicalneed and often timesbased on falserepresentationsand m aterial

            om issionsincluding,by way ofexample,claims thatthe drugs were custom designed for

            thepatient.In fact,theprescriptionformulationswerenotcustom izedforindividualsbased

            on specific medicalneeds but developed to generate incre% ed revenue from Tricare.

            Based on the claim s subm itted in this case,Tricare reim bursed Pharmacies 1 and 2

            thousanésofdollarsamonthforasinglecompoundedmedicationproduct.Forexample,
            assetforth in count4,Tricare reimbursed the approxipate amountof$23,790 fora one-
            month supply ofscarcream .

                  After obtaining the beneficiaries'inform ation,D efendant and his co-conspirators

            routed the benetsciary inform ation and a pre-printed prescription to a telem edicine

            company forratification.D efendantand his co-conspirators paid between approxim ately

            $75 and $90 perconsultation,prescriptionsratified by thetelem edicinecompanies.Often
            times,asin thecase ofDr.Rnm amurthy whoratified prescriptions,orCarbon,who forged

            the nam e of a doctor under her em ploy,the doctor never even exam ined the patient.

            D efendantand hisco-conspiratorspaid the salesrepsakickback ofapproxim ately $350 to

            $500 foreveryprescription thattheyinduced andthatwasadjudicatedbyTricare.
                  ln furtherance ofthe conspiracy,in oraboutFebruary 2015,Defendantalong with

            co-conspiratorsM ahbubaniandM auzyformedM EIQV,in pal'tto concealtheirreceiptof
            kickbacks. On oraboutFebruary 17,2015,theDefendantsigned an M HQV Shareholder
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    Agreem entthepurpose ofwhich wasto equitably splitkickbacksreceived in exchangefor

    referralsto Pharm acies 1and 2.On oraboutM arch 16,2015 theDefendantcorresponded

    with co-conspiratorM auzy abouta spreadsheetcontaining Stproposed payouts''to çlsales

    reps.''On or about M arch 23,2015 the D efendant corresponded with co-defendant's

    Scholtes,M auzy,M ahbubani,Uddin,Carbon and others aboutcirculating and using a

    lç-felem edicine ScriptPad 3-23-2015.'5Theform ulationscontained on thisscriptpad were

    designed solely to m axim ize reimbursem entfrom Tricare and notto serve àny specifc

    legitim atem edicalpurpose.

          OnoraboutM arch 24,2015theDefendantcorrespondedw ith co-conspiratorsabout

    using M HQ nursesto'sdocumentmedicalnecessity asweseet5t.'' On oraboutApril13,
    2015,theD efendante-m ailed co-conspiratorUddin aboutTricare benefciary A .C.about

    paying a copay for A .C. so that A .C. would not cancel his order for compounded

    m edications.

          During the course of this conspiracy the Defendant and other charged co-

    conspiratorsused false pretensesto gain accesstoU .S.m ilitary baseswherethey targeted

    Tricarebenesciaries.On m ultipleoccasionsthroughoutthe conspiracy theDefendantand

    other charged co-conspirators,including Scholtes,sentpre-printed prescription pads to

    telem edicine companiesdirecting those companieswhich scriptto use and where to send

    patients. The Defendant and the other charged co-conspirators, including Scholtes,

    directed the transferofpatients between various pharmacies for the prim ary pup ose of

    concealing the unlawfulnature ofthe schem e. One such example occurred on orabout

    April7,2015,when the D efendant and co-conspirators corresponded by e-m ail about

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            m oving patients from Pharm acies 1 and 2 to another compounding pharm acy located in

            the CentralDistrictofCalifornia.

                  The foregoing facts do not describe a11 the details of the offense conduct,or

            Defendant'scomplete know ledgeofthe scheme,butare offered forthe lim ited purpose of

            establishing a suffcientfactualbasisto supportD efendant'splea ofguilty to the charges

            ofconspiracy to defraudtheU nited Statesand to receive health carekickbacks.

                                                    ARIAN A FAJARDO     HAN
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